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     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
1
     Todd M. Friedman (SBN 216752)
2    tfriedman@attorneysforconsumers.com
     Nicholas J. Bontrager (SBN 252114)
3    nbontrager@attorneysforconsumers.com
     369 S. Doheny Dr., #415
4
     Beverly Hills, CA 90211
5    Phone: 877-206-4741
     Fax: 866-633-0228
6

7
     Attorneys for Plaintiff
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9
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
10

11
     ANN FOX, INDIVIDUALLY                       Case No.:
     AND ON BEHALF OF ALL
12
     OTHERS SIMILARLY                            CLASS ACTION COMPLAINT FOR
     SITUATED,                                   DAMAGES
13
                     Plaintiff,                  JURY TRIAL DEMANDED
14
                               v.
15
     AUS, INC.,
16

17                   Defendant.
18
            1.      ANN FOX (―Plaintiff‖) brings this Class Action Complaint for
19
     damages, injunctive relief, and any other available legal or equitable remedies,
20
     resulting from the illegal actions of AUS, INC.(―Defendant‖), in negligently
21

22
     and/or willfully contacting Plaintiff on Plaintiff’s cellular telephone, in violation

23
     of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq., (―TCPA‖),
24   thereby invading Plaintiff’s privacy. Plaintiff alleges as follows upon personal
25   knowledge as to herself and her own acts and experiences, and, as to all other
26   matters, upon information and belief, including investigation conducted by his
27   attorneys.
28          2.      The TCPA was designed to prevent calls and text messages like the



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1    ones described herein, and to protect the privacy of citizens like Plaintiff.
2    ―Voluminous consumer complaints about abuses of telephone technology – for
3    example, computerized calls dispatched to private homes – prompted Congress to
4
     pass the TCPA.‖ Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
5
           3.    In enacting the TCPA, Congress intended to give consumers a choice
6
     as to how corporate similar entities may contact them, and made specific findings
7
     that ―[t]echnologies that might allow consumers to avoid receiving such calls are
8
     not universally available, are costly, are unlikely to be enforced, or place an
9
     inordinate burden on the consumer.         TCPA, Pub.L. No. 102–243, § 11. In
10
     support of this, Congress found that
11
                  [b]anning such automated or prerecorded telephone
12                calls to the home, except when the receiving party
13
                  consents to receiving the call or when such calls are
                  necessary in an emergency situation affecting the health
14                and safety of the consumer, is the only effective means
15                of protecting telephone consumers from this nuisance
                  and privacy invasion.
16

17   Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
18
     3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on
19

20   TCPA’s purpose).
21
           4.    Congress also specifically found that ―the evidence presented to the
22
     Congress indicates that automated or prerecorded calls are a nuisance and an
23
     invasion of privacy, regardless of the type of call….‖ Id. at §§ 12-13. See also,
24
     Mims, 132 S. Ct. at 744.
25

26
           5.    As Judge Easterbrook of the Seventh Circuit recently explained in a

27
     TCPA case regarding calls to a non-debtor similar to this one:
                The Telephone Consumer Protection Act … is well
28
                known for its provisions limiting junk-fax


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                   transmissions. A less-litigated part of the Act curtails
                   the use of automated dialers and prerecorded messages
2                  to cell phones, whose subscribers often are billed by the
3                  minute as soon as the call is answered—and routing a
                   call to voicemail counts as answering the call. An
4
                   automated call to a landline phone can be an
5                  annoyance; an automated call to a cell phone adds
6
                   expense to annoyance.

7

8
     Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).

9                              JURISDICTION AND VENUE
10          6.     This Court has federal question jurisdiction because this case arises
11   out of violations of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs.,
12   LLC, 132 S. Ct. 740 (2012).
13          7.     Venue is proper in the United States District Court for the Central
14   District of California pursuant to 18 U.S.C. § 1391(b)(2) and 1441(a) because
15   Defendant is subject to personal jurisdiction in the County of Santa Barbara, State
16
     of California as Plaintiff is a resident of Santa Barbara County, State of California
17
     and Plaintiff received the calls at issue within this judicial district.
18
                                           PARTIES
19
            8.     Plaintiff is, and at all times mentioned herein was, a citizen and
20
     resident of the State of California. Plaintiff is, and at all times mentioned herein
21
     was, a ―person‖ as defined by 47 U.S.C. § 153 (10).
22
            9.     Plaintiff is informed and believes, and thereon alleges, that
23
     Defendant is, and at all times mentioned herein was, a corporation whose
24
     principal place of business and state of incorporation is in the State of New
25

26
     Jersey. Defendant, is and at all times mentioned herein was, a corporation and is

27
     a ―person,‖ as defined by 47 U.S.C. § 153 (10). Plaintiff alleges that at all times

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                                     CLASS ACTION COMPLAINT - 3
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1    relevant herein Defendant conducted business in the State of California and in the
2    County of Santa Barbara, and within this judicial district.
3                              FACTUAL ALLEGATIONS
4
           10.    At all times relevant, Plaintiff was a citizen of the State of California.
5
     Plaintiff is, and at all times mentioned herein was, a ―person‖ as defined by 47
6
     U.S.C. § 153 (10).
7
           11.    Defendant is, and at all times mentioned herein was, a corporation
8
     and a ―person,‖ as defined by 47 U.S.C. § 153 (10).
9
           12.    At all times relevant Defendant conducted business in the State of
10
     California and in the County of Santa Barbara, within this judicial district.
11
           13.    On or about October 5, 2013, Defendant placed its calls to Plaintiff’s
12
     cellular telephone from the following telephone number: (702)-359-5518.
13

14
           14.    The calls Defendant placed to Plaintiff’s cellular telephone were

15
     placed via an ―automatic telephone dialing system,‖ (―ATDS‖) as defined by 47

16   U.S.C. § 227 (a)(1) as prohibited by 47 U.S.C. § 227 (b)(1)(A).
17         15.    This ATDS has the capacity to store or produce telephone numbers
18   to be dialed, using a random or sequential number generator.
19         16.    The telephone number that Defendant, or its agents, called was
20   assigned to a cellular telephone service for which Plaintiff incurs a charge for
21   incoming calls pursuant to 47 U.S.C. § 227 (b)(1).
22         17.    These telephone calls constituted calls that were not for emergency
23
     purposes as defined by 47 U.S.C. § 227 (b)(1)(A)(i).
24
           18.    Plaintiff is not a customer of Defendant. Plaintiff did not provide her
25
     cellular telephone number to Defendant for any purpose whatsoever. Thus, at no
26
     time did Plaintiff provide Defendant or its agents with prior express consent to
27
     receive telephone calls from an ATDS pursuant to 47 U.S.C. § 227 (b)(1)(A).
28




                                   CLASS ACTION COMPLAINT - 4
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1          19.      These telephone calls by Defendant, or its agents, violated 47 U.S.C.
2    § 227(b)(1).
3                            CLASS ACTION ALLEGATIONS
4
           20.      Plaintiff brings this action on behalf of herself and on behalf of and
5
     all others similarly situated (―the Class‖).
6
           21.      Plaintiff represents, and is a member of, the Class, consisting of: All
7
     persons within the United States who received any telephone call/s from
8
     Defendant or its agent/s and/or employee/s to said person’s cellular telephone
9
     made through the use of any automatic telephone dialing system or with an
10
     artificial or prerecorded voice within the four years prior to the filling of the
11
     Complaint.
12
           22.      Defendant and its employees or agents are excluded from the Class.
13

14
     Plaintiff does not know the number of members in the Class, but believes the

15
     Class members number in the thousands, if not more. Thus, this matter should be

16   certified as a Class action to assist in the expeditious litigation of this matter.
17         23.      Plaintiff and members of the Class were harmed by the acts of
18   Defendant in at least the following ways: Defendant, either directly or through its
19   agents, illegally contacted Plaintiff and the Class members via their cellular
20   telephones, thereby causing Plaintiff and the Class members to incur certain
21   cellular telephone charges or reduce cellular telephone time for which Plaintiff
22   and the Class members previously paid, and invading the privacy of said Plaintiff
23
     and the Class members. Plaintiff and the Class members were damaged thereby.
24
           24.      This suit seeks only damages and injunctive relief for recovery of
25
     economic injury on behalf of the Class, and it expressly is not intended to request
26
     any recovery for personal injury and claims related thereto. Plaintiff reserves the
27
     right to expand the Class definition to seek recovery on behalf of additional
28
     persons as warranted as facts are learned in further investigation and discovery.


                                    CLASS ACTION COMPLAINT - 5
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1          25.    The joinder of the Class members is impractical and the disposition
2    of their claims in the Class action will provide substantial benefits both to the
3    parties and to the court. The Class can be identified through Defendant’s records
4
     or Defendant’s agents’ records.
5
           26.    There is a well-defined community of interest in the questions of law
6
     and fact involved affecting the parties to be represented. The questions of law
7
     and fact to the Class predominate over questions which may affect individual
8
     Class members, including the following:
9
            a)    Whether, within the four years prior to the filing of this Complaint,
10
                  Defendant or its agents placed any calls to the Class (other than a
11
                  call made for emergency purposes or made with the prior express
12
                  consent of the called party) to a Class member using any automatic
13

14
                  dialing system and/or an artificial or prerecorded voice to any

15
                  telephone number assigned to a cellular phone service;

16          b)    Whether Plaintiff and the Class members were damaged thereby, and
17                the extent of damages for such violation; and
18          c)    Whether Defendant and its agents should be enjoined from engaging
19                in such conduct in the future.
20         27.    As a person that received numerous calls from Defendant via an
21   automated telephone dialing system and/or an artificial or prerecorded voice,
22   Plaintiff is asserting claims that are typical of the Class. Plaintiff will fairly and
23
     adequately represent and protect the interests of the Class in that Plaintiff has no
24
     interests antagonistic to any member of the Class.
25
           28.    Plaintiff and the members of the Class have all suffered irreparable
26
     harm as a result of the Defendant’s unlawful and wrongful conduct. Absent a
27
     class action, the Class will continue to face the potential for irreparable harm. In
28
     addition, these violations of law will be allowed to proceed without remedy and


                                   CLASS ACTION COMPLAINT - 6
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1    Defendant will likely continue such illegal conduct. Because of the size of the
2    individual Class member’s claims, few, if any, Class members could afford to
3    seek legal redress for the wrongs complained of herein.
4
             29.   Plaintiff has retained counsel experienced in handling class action
5
     claims and claims involving violations of the Telephone Consumer Protection
6
     Act.
7
             30.   A class action is a superior method for the fair and efficient
8
     adjudication of this controversy. Class-wide damages are essential to induce
9
     Defendant to comply with federal and California law. The interest of Class
10
     members in individually controlling the prosecution of separate claims against
11
     Defendant is small because the maximum statutory damages in an individual
12
     action for violation of privacy are minimal. Management of these claims is likely
13

14
     to present significantly fewer difficulties than those presented in many class

15
     claims.

16           31.   Defendant has acted on grounds generally applicable to the Class,
17   thereby making appropriate final injunctive relief and corresponding declaratory
18   relief with respect to the Class as a whole.
19
                         FIRST CAUSE OF ACTION
20          NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
                            PROTECTION ACT
21                         47 U.S.C. § 227 ET SEQ.
22
             32.   Plaintiff incorporates by reference all of the above paragraphs of this
23

24
     Complaint as though fully stated herein.

25
             33.   The foregoing acts and omissions of Defendant constitute numerous
26   and multiple negligent violations of the TCPA, including but not limited to each
27   and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
28




                                   CLASS ACTION COMPLAINT - 7
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1            34.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
2    seq, Plaintiff and The Class are entitled to an award of $500.00 in statutory
3    damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
4
             35.   Plaintiff and the Class are also entitled to and seek injunctive relief
5
     prohibiting such conduct in the future.
6
                            SECOND CAUSE OF ACTION
7                   KNOWING AND/OR WILLFUL VIOLATIONS OF THE
8                     TELEPHONE CONSUMER PROTECTION ACT
                               47 U.S.C. § 227 ET SEQ.
9

10           36.   Plaintiff incorporates by reference all of the above paragraphs of this
11   Complaint as though fully stated herein.
12           37.   The foregoing acts and omissions of Defendant constitute numerous
13   and multiple knowing and/or willful violations of the TCPA, including but not
14
     limited to each and every one of the above-cited provisions of 47 U.S.C. § 227 et
15
     seq.
16
             38.   As a result of Defendant’s knowing and/or willful violations of 47
17
     U.S.C. § 227 et seq, Plaintiff and The Class are entitled to an award of $1,500.00
18
     in statutory damages, for each and every violation, pursuant to 47 U.S.C. §
19
     227(b)(3)(C).
20
             39.   Plaintiff and the Class are also entitled to and seek injunctive relief
21
     prohibiting such conduct in the future.
22

23

24
                                  PRAYER FOR RELIEF

25
             Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and The
26   Class members the following relief against Defendant:
27   ///
28   ///



                                    CLASS ACTION COMPLAINT - 8
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1
       FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATIONS OF THE
                       TCPA, 47 U.S.C. § 227 ET SEQ.
2

3           40.   As a result of Defendant’s negligent violations of 47 U.S.C. §
4    227(b)(1), Plaintiff seeks for himself and each Class member $500.00 in statutory
5    damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
6           41.   Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting
7    such conduct in the future.
8           42.   Any other relief the Court may deem just and proper.
9
            SECOND CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL
10               VIOLATIONS OF THE TCPA, 47 U.S.C. § 227 ET SEQ.
11
            43.   As a result of Defendant’s knowing and/or willful violations of 47
12

13
     U.S.C. § 227(b)(1), Plaintiff seeks for himself and each Class member $1,500.00

14
     in statutory damages, for each and every violation, pursuant to 47 U.S.C. §
15   227(b)(3)(C).
16          44.   Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting
17   such conduct in the future.
18          45.   Any other relief the Court may deem just and proper.
19                                    TRIAL BY JURY
20          46.   Pursuant to the seventh amendment to the Constitution of the United
21   States of America, Plaintiffs are entitled to, and demand, a trial by jury.
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     ///
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     ///
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     ///
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     ///
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                                   CLASS ACTION COMPLAINT - 9
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2            Respectfully submitted this April 7, 2014.
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                         LAW OFFICES OF TODD M. FRIEDMAN, P.C.
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7
                                 By: /s/ Todd M. Friedman
8                                    Todd M. Friedman
9
                                     Attorney for Plaintiff
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                             CLASS ACTION COMPLAINT - 10
